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               Nos. 22-3750, 22-3751, 22-3753, 22-3841, 22-3843, 22-3844

                  In the United States Court of Appeals
                          for the Sixth Circuit

                    In re National Prescription Opiate Litigation


                             TRUMBULL COUNTY, OHIO, ET AL.,
                                        Plaintiffs-Appellees,
                                            v.
                              PURDUE PHARMA, L.P., ET AL.,
                                       Defendants,
                      WALGREENS BOOTS ALLIANCE, INC., ET AL.,
                           CVS PHARMACY, INC., ET AL.,
                                WALMART INC.,
                                    Defendants-Appellants.


               On Appeal from the United States District Court for the
                    Northern District of Ohio, Eastern Division
                 (No. 1:17-md-2804) (The Hon. Dan Aaron Polster)


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                              INTRODUCTION

      The Counties’ claims in this case depend on the Ohio common law of

public nuisance. The parties disagree over whether the Ohio Public Liability

Act (OPLA) bars the Counties’ claims, and the panel recently asked the parties

whether that question should be certified to the Ohio Supreme Court. It

should not, for three reasons. First, certification could delay the resolution of

this case by additional months or even years. MDL defendants have sought

appellate review of these issues for years, plaintiffs have repeatedly opposed

those requests, and the district court has denied them. Prolonging this case

yet further would be to the detriment of the pharmacies and the broader

ongoing multidistrict litigation. Second, certification is typically reserved for

difficult questions of state law, but OPLA’s text is clear: the statute abrogates

“all” common law product liability claims, including “any public nuisance

claim” arising out of the “sale of a product”—with no exception for claims for

equitable abatement. Ohio Rev. Code § 2307.71(A)(13), (B) (emphases added).

If that categorical language warrants certification, then so will virtually any

state statute.   Third, the Court’s order for supplemental briefing cites

American Booksellers Foundation for Free Expression v. Strickland,

560 F.3d 443, 447 (6th Cir. 2009), in which the Court certified an issue of state



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law to avoid unnecessarily resolving a constitutional challenge to a state

statute, but there is no reason like that to certify here. The pharmacies

respectfully request that this Court expeditiously resolve this appeal,

including the threshold OPLA issue.

                                  ARGUMENT

I.    CERTIFICATION COULD CAUSE SIGNIFICANT, HARMFUL,
      AND UNNECESSARY DELAY.

      Certification could unnecessarily cause significant and prejudicial delay.

A recent study conducted on behalf of the Federal Judicial Center found that

state courts on average took several months just to decide whether to accept

certification from this Court.        See Jason A. Canton & Carly Giffin,

Certification of Questions of State Law in the U.S. Courts of Appeals for the

Third, Sixth, and Ninth Circuits (2010-2018), at 9 (June 2020),

https://www.fjc.gov/sites/default/files/materials/52/Certification%20of%20Qu

estions%20of%20State%20Law_Third-Sixth-Ninth%20Circuits.pdf.                    And

when state courts did accept certification, they did not issue decisions until on

average “about 14 months after the question was certified by the Sixth

Circuit.” Id.

      Certifying could thus delay the resolution of this case by many months,

if not years. Especially given the clarity of the statutory text, see pp. 4-7, infra,


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there should be no need to wait for potentially a year or more for the Ohio

Supreme Court to address OPLA. This Court already acknowledged the

importance of timely resolving this case over nine months ago, when it ordered

that oral argument would be set at the “earliest practicable date that the

[C]ourt’s schedule will permit.” Doc. No. 25-2. After the federal government

received two extensions of time to submit its brief, the pharmacies filed their

reply brief early in an effort to expedite oral argument. Counsel for the

Counties objected to scheduling argument before the October sitting, and now

even the current October 20 argument date will likely be moved if the Court

certifies.

      Further delaying the resolution of this case would harm the pharmacies

and the multidistrict litigation more broadly. Delay harms the pharmacies

because they must pay for an appellate bond and face the uncertainty created

by the erroneous $650 million verdict. Moreover, delaying the resolution of

this appeal by certifying the OPLA issue will leave the other cases in the

multidistrict litigation without the valuable legal guidance that this bellwether

case could provide, including with respect to issues (such as the application of

the Controlled Substances Act) that are relevant to hundreds of cases still

pending in the MDL, as well as day-to-day pharmacy practice.



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      The district court began ruling on the issues raised in this appeal almost

five years ago. See R. 1203. Because of the importance of a timely resolution

of those issues, MDL defendants have repeatedly—but unsuccessfully—

attempted to obtain interlocutory review of them over the ensuing years. See

R. 1088, 1280, 3439, 4205. Plaintiffs have opposed—and the district court has

denied—all prior efforts to obtain appellate review, including all prior efforts

to certify the OPLA question to the Ohio Supreme Court. See R. 1111, 1120,

1283, 3456, 3499, 4240, 4251. The MDL has been proceeding for over five

years. Further delay would not be just.

II.   CERTIFICATION IS            UNNECESSARY           BECAUSE          OPLA’S
      MEANING IS CLEAR.

      Certification is also unnecessary because the OPLA issue is

straightforward. This Court does “not trouble [its] sister state courts every

time” it encounters “an arguably unsettled question of state law.” Devereux

v. Knox County, 15 F.4th 388, 398 (6th Cir. 2021) (citation omitted). Instead,

the Court has explained, “[w]hen we see a reasonably clear and principled

course, we will seek to follow it ourselves.” State Auto Prop. & Cas. Ins. Co.

v. Hargis, 785 F.3d 189, 194 (6th Cir. 2015) (citation omitted). Here, Ohio’s

settled approach to interpreting statutes charts a course for this Court that is

more than just “reasonably clear”—it is crystal clear.         Under Ohio law,


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OPLA’s plain text governs and unambiguously forecloses the Counties’ claims.

See Pharmacies Br. 35-48.

      After all, the Counties do not dispute that “Ohio courts interpret a

statute according to its plain meaning.” United States v. Stevenson, 43 F.4th

641, 646 (6th Cir. 2022). As both sides agree, Ohio law dictates that when the

“meaning of a statute is unambiguous and definite, it must be applied as

written and no further interpretation is necessary.” State ex rel. Prade v.

Ninth Dist. Ct. of Appeals, 87 N.E.3d 1239, 1242 (Ohio 2017) (per curiam)

(citation omitted); see Pharmacies Br. 38; Counties Br. 70. The OPLA issue

thus turns entirely on the plain meaning of the statutory text, not on any quirk

of state law or doctrine. This Court is as well-equipped as the Ohio Supreme

Court to conduct that inquiry. See, e.g., Ohio State Univ. v. Redbubble, Inc.,

989 F.3d 435 (6th Cir. 2021) (interpreting Ohio statute); First Choice

Chiropractic, LLC v. DeWine, 969 F.3d 675 (6th Cir. 2020) (same); Greer v.

United States, 938 F.3d 766 (6th Cir. 2019) (same); Bevan & Assocs., LPA, Inc.

v. Yost, 929 F.3d 366 (6th Cir. 2019) (same).

      Nor is the inquiry particularly difficult as statutory-interpretation

questions go. OPLA abrogates “all common law product liability claims.”

Ohio Rev. Code Ann. § 2307.71(B) (emphasis added). In 2007, the Ohio General



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Assembly amended the statute to clarify that such abrogated claims include

“any public nuisance claim” at common law arising from the “sale of a

product”—full stop. Id. § 2307.71(A)(13) (emphasis added). As this Court has

already held, “[u]nder Ohio law,” courts do “not have the authority to dig

deeper than the plain meaning of an unambiguous statute under the guise of

either statutory interpretation or liberal construction.” Redbubble, 989 F.3d

at 450 (citation omitted).   But if there were any doubt, OPLA’s history

confirms its plain meaning. See Pharmacies Br. 43-48; Pharmacies Reply

Br. 11-14. As a matter of both text and history, there is a “clear and principled

course” for this Court to take in resolving the OPLA issue. Hargis, 785 F.3d

at 194.

      The Counties’ attempt to muddy the waters is not nearly enough to

warrant certification. After all, a “disagreement among litigants over the

meaning of a statute does not prove ambiguity; it usually means that one of

the litigants is simply wrong.” Bank of Am. Nat’l Tr. & Sav. Ass’n v. 203 N.

LaSalle St. P’ship, 526 U.S. 434, 461 (1999) (Thomas, J., concurring in the

judgment). Here, the Counties’ interpretation of the text is tortured, divorced

from context, and internally incoherent. See Pharmacies Reply Br. 4-14. The

Counties point (at 76-77) to State ex rel. DeWine v. Purdue Pharma LP,



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2018 WL 4080052 (Ohio Ct. Com. Pl. Aug. 22, 2018), and this Court noted

DeWine in its supplemental briefing order. See ECF No. 85 at 1-2. But unlike

City of Toledo v. Sherwin-Williams Co., 2007 WL 4965044 (Ohio Ct. Com. Pl.

Dec. 12, 2007), DeWine does not address OPLA’s relevant language. See

Pharmacies Br. 46 n.4; Pharmacies Reply Br. 12. A single poorly reasoned

decision from an Ohio trial court should not be a sufficient basis for

“troubl[ing]” this Court’s “sister state court[]” on a straightforward issue of

statutory interpretation. Devereux, 15 F.4th at 398.

III.   CERTIFICATION IS UNNECESSARY AS A MATTER OF
       CONSTITUTIONAL AVOIDANCE.

       Finally, another consideration often present in this Court’s sua sponte

certification decisions is absent here. This Court has recognized the value of

sua sponte certification when an “unconstrued state statute is susceptible of a

construction by the state judiciary which might avoid in whole or in part the

necessity for federal constitutional adjudication, or at least materially change

the nature of the problem.” American Booksellers, 560 F.3d at 446 (citation

omitted); see Planned Parenthood of Cincinnati Region v. Strickland,

531 F.3d 406, 412 (6th Cir. 2008). In American Booksellers, for example, this

Court sua sponte certified a question of Ohio statutory interpretation to avoid

unnecessarily deciding whether the statute complied with the Constitution.


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560 F.3d at 446-447. Here, by contrast, OPLA’s constitutionality is not at

issue, further confirming that certification is not warranted.

                               CONCLUSION

      For the foregoing reasons, the pharmacies respectfully submit that this

Court should not certify the OPLA issue to the Ohio Supreme Court but should

instead hear argument in October and expeditiously resolve the appeal.




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                    CERTIFICATE OF COMPLIANCE

     This Supplemental Brief complies with this Court’s August 22, 2023

Order because it is 8 double-spaced pages.

     This Brief also complies with the requirements of Federal Rules of

Appellate Procedure 32(a) because it was prepared in 14-point font using a

proportionally spaced typeface.

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SEPTEMBER 5, 2023
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                     CERTIFICATE OF SERVICE

     I hereby certify that, on September 5, 2023, I electronically filed the

foregoing Brief with the Clerk of Court using the CM/ECF system. I certify

that service will be accomplished by the CM/ECF system for all participants

in this case who are registered CM/ECF users.


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SEPTEMBER 5, 2023
